                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

IAN LUCAS,                                         )
                                                   )
                Plaintiff,                         )      Case No. 3:24-cv-00440
                                                   )
v.                                                 )      Judge Waverly Crenshaw
                                                   )
MARY ANN JESSEE et al.,                            )      Magistrate Judge Newbern
                                                   )
                Defendants.                        )

                             DEFENDANTS’ MOTION TO SEAL

       Pursuant to Local Rule 7.02 and 26.03, Defendants respectfully move this Court for

an Order sealing the December 19, 2023, Letter from Dean Mavis Schorn to Plaintiff stating

the basis for the Vanderbilt School of Nursing’s dismissal of Plaintiff.

       In support of their motion, Defendants state as follows:

       1.       Plaintiff Ian Lucas, a former student at Vanderbilt University School of

Nursing, has asserted a host of claims against 20 Vanderbilt faculty members, staff members,

and students.

       2.       On May 7, 2024, Plaintiff filed a motion for temporary restraining order,

requesting that the Court “prohibit Defendants from retaliating against Plaintiff for

asserting his rights under [the] ADA and require Defendants to provide Plaintiff with access

to his student records, as mandated by the Family Educational Rights and Privacy Act

(FERPA).” (Doc. No. 26 at 2.)

       3.       Responding to Plaintiff’s motion for temporary restraining order requires

Defendants to provide information regarding Plaintiff’s academic progress.

       4.       The Family Educational Rights and Privacy Act (“FERPA”) provides:

       No funds shall be made available under any applicable program to any educational
       agency or institution which has a policy or practice of permitting the release of
       education records (or personally identifiable information contained therein ... ) of
       students without the written consent of their parents to any individual, agency, or
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       organization.

20 U.S.C. § 1232g(b)(1).

       5.      Bart P. Quinet is the Assistant Provost and University Registrar for Vanderbilt

University and as such, his office, the Office of University Registrar, maintains student

academic records. (Document No. 32, at 2-3). In his role as Registrar, Mr. Quinet has access

to Plaintiff’s records and is permitted to disclose records when a student initiates legal action.

34 C.F.R. § 99.31.

       6.      Under 34 C.F.R. § 99.31, “[i]f a parent or eligible student initiates legal action

against an educational agency or institution, the educational agency or institution may

disclose to the court, without a court order or subpoena, the student’s education records that

are relevant for the educational agency or institution to defend itself.” Id.

       7.      While Defendants maintain that disclosure of Plaintiff’s student records

regarding academic progress is permitted under 34 C.F.R. § 99.31, out of an abundance of

caution, Defendants move to file under seal the December 19, 2023, Letter from Dean Mavis

Schorn to Plaintiff stating the basis for Vanderbilt’s decision to dismiss Plaintiff from its

School of Nursing.

       8.      In federal court, documents may be filed under seal where the Court

determines that the party seeking to seal has demonstrated compelling reasons to seal the

documents and that the sealing is narrowly tailored to those reasons. See Local Rule 5.03;

Shane Grp., Inc. v. Blue Cross Blue Shield of Mich., 825 F.3d 299, 305–06 (6th Cir. 2016). To

do so, a party must “specifically analyz[e] in detail, document by document, the propriety of

secrecy, providing factual support and legal citations.” Id. The greater the public interest in

the litigation's subject matter, the greater the showing necessary to overcome the

presumption of access. See Brown & Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1179

(6th Cir. 1983).

       9.      This Motion seeks only the relief explicitly stated herein and is filed for good
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cause and for the sole purpose of obtaining an Order that Dean Schorn’s December 19, 2023,

Letter to Plaintiff be sealed.

       For these reasons, Defendants respectfully request an Order sealing the December 19,

2023, Letter from Dean Mavis Schorn to Plaintiff stating the basis for the Vanderbilt School

of Nursing’s dismissal of Plaintiff.

                                          Respectfully submitted,




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                             CERTIFICATE OF SERVICE

       I certify that I filed the foregoing MOTION TO SEAL on the Court’s CM/ECF system
on this 8th day of May, 2024, which forwarded a copy to:

Mark A. Baugh
Denmark J. Grant

Attorneys for Defendants Clairise Gamez,
Crystal Ritchie, and Marissa Shulruff

       I certify that the foregoing MOTION TO SEAL is being sent via electronic mail on
this 8th day of May, 2024, to:

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